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 5   Attorneys for Plaintiffs

 6                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                         AT SAN FRANCISCO

 8   _________________________________________
      FOOD & WATER WATCH, et al.,              ) Civ. No. 17-CV-02162-EMC
 9                                             )
                              Plaintiffs,      ) ERRATA IN PLAINTIFFS’
10                vs.                          ) OPPOSITION TO DEFENDANTS’
                                               ) MOTION FOR SUMMARY JUDGMENT
11    U.S. ENVIRONMENTAL PROTECTION            )
      AGENCY, et al.                           ) Date: November 7, 2019
12                                             ) Time: 12:00 p.m.
                              Defendants.      ) Judge: Hon. Edward Chen
13                                             ) Courtroom: 5, 17th Floor
                                               )
14                                             )
                                               )
15

16                                                   ERRATA
17
            It has come to Plaintiffs’ attention that errors exist in Plaintiffs’ Opposition to Defendants’ Motion
18
     for Summary Judgment in the form of (1) incorrect citations to the record, (2) a typographical error, and
19
     (3) several inadvertently omitted pages from cited depositions. These errors are as follows:
20

21          (1) Incorrect Citations:

22          Page 3, Line 16: Ex. 9 at 3 should be Ex. 9 at 20.

23          Page 5, Line 21: The citation to 329:3-17 should be 329:3-7.
24
            Page 6, Line 23: Ex. 26 at 162:25-163:7 should be Ex. 26 at 162:19-163:7.
25
            Page 7, Line 1: Ex. 27 at 15:5-14 should be Ex. 27 at 14:5-14.
26
            Page 7, Line 7: Ex. 28 at 209:3-12 should be Ex. 28 at 209:4-12.
27
            Page 7, Line 18: Id. at 180:18-181:4 should be Id. at 181:5-12.
28
                                                 1
            ERRATA IN PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
           Case 3:17-cv-02162-EMC Document 127 Filed 10/29/19 Page 2 of 3



            Page 7, Line 21: The pages cited from Ex. 12 should not include 271:12-272:19.
 1
            Page 11, Line 14: Ex. 23A at 40-43 should be Ex. 23A at 40-42.
 2

 3          Page 14, Line 14: Ex. 18 at 383:19-25 should be Ex. 18 at 382:19-25.

 4          Page 15, Line 6: Ex. 13 ¶ 4 should be Ex. 13 ¶ 10.
 5          Page 18, Line 18: The pages cited from Ex. 36 should not include 246:8-247:25 or 249:16-23.
 6
            Page 18, Line 21: Ex. 32 at 150:4-151:4 should be Ex. 32 at 149:4-151:4.
 7
            Page 25, Line 6: Lavelle Decl. ¶ 18 should be Lavelle Decl. ¶ 15.
 8
            Page 25, Lines 12-13: Staudenmaier Decl. ¶¶ 11 & 13 should be Staudenmaier Decl. ¶ 14.
 9

10          (2) Typographical Error:

11          Page 3, Line 20: “sum” should be “product.”

12          For the convenience of the Court, Plaintiffs have attached a copy of their motion herein as Exhibit
13   A in which the above-mentioned errors have been corrected.
14
            (3) Inadvertently Omitted Pages from Exhibits:
15
            Exhibit 18: Page 382.
16
            Exhibit 19: Pages 307, 308.
17

18          Exhibit 27: Page 14.

19          Exhibit 32: Pages 177, 178, 179.

20          These inadvertently omitted pages are attached as Exhibits herein. Plaintiffs sincerely apologize
21
     for any inconvenience these errors may have caused the Court.
22
            Dated: October 29, 2019                       Respectfully submitted,
23

24                                                        /s/ Michael Connett
                                                          MICHAEL CONNETT
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                                                 2
            ERRATA IN PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
           Case 3:17-cv-02162-EMC Document 127 Filed 10/29/19 Page 3 of 3




 1                                          CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the foregoing was served by Notice of Electronic

 3   Filing this 29th day of October, 2019, upon all ECF registered counsel of record using the Court’s CM/ECF
     system.
 4
                                                                /s/ Michael Connett
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                                                                MICHAEL CONNETT
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            ERRATA IN PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
